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                                t Natural Gas Supply Plan for 2020-2024     CaseExhibit   1
                                                                                 No. 21-30725


                                                                                PX110
                                                                          Adv. Proc. No. 21-03863




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                                                                               BRAZOS _00007411 3
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                         Power Supply Committee - Consider Natural Gas Supply Plan for 2020-2024                                    Exhibit




                                 Electric Cooperative
                               Brazos
                       2020-2024   atural Gas Supply Plan

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                  6       Recommendations/Actions IL@MS oc                                        ecccceeecseccssveccceveeeees 8
                  Appendix A: Current COMtIrACES ...... ccc cccccssessesssessseestsnssevevsssenecccossessns O
                  Appendix C: Brazos Electric's Natural Gas Fired Generation.............. li
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ACES has prepared this report based upon information provided by Brazos Electric Cooperative and information
abiained from other sources considered to be reliable. ACES makes no representations or warranties as to the
accuracy of any data used in the preparation of this report. Brazos Electric Cooperative is cautioned that reliance
upon this information and the underlying assumptions for conclusions, decisions, or strategies involves risks and
uncertainties, ACES cannot give any assurances that actual results will be consistent with the projections in this
report. This report contains confidential and proprietary information and should net be disclased without the
express written consent of Brazos Electric Cooperative and ACES.




ACES | Brazos Electric Cooperative ~ 2020-2024 NG Giloply Plan

                                                                                                                                   BRAZOS _000074114
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1     Executive Summary
ACES prepared the following natural gas supply plan to meet Brazos Electric Power Cooperative, Inc.'s
(Srazos) projected Fall 2020 through 2024 ‘natural gas consumption. The plan was prepared based on
current estimates of natural gas consumption along with peak demand requirements. The following
sections     cover      Forecast    Consumption,       Transportation,      Storage     Services,   Analysis,   and
Recommendatians/Action         Items. Long Terrn/Further Considerations.         Also attached at the end of the
cocument:


Appendix    A=    NAESB Current Contracts
Appendix    B—    Brazos Pipeline Map
Apoendix    € —   Brazos Electric's Natural Gas Fired Generation
Appendix    0 ~   Projected Average Consumption
Appendix    E+    Brazos PGMY Yard Map

ACES will update this natural gas supply plan on an annual basis:

in the past year, Brazos has mace changes two-fold. On the physical operations side, changes have been
made on the Worsham Steed line to allow for much higher flows to Jack County. These increases allow
for flows of over 150,000 MMBtu directly to Jack County, which has changed how natural gas is
procured and flowed on a daily basis. In regards to storage and transportation contracts, Brazos has
extended the interruptibie transportation on Atmos for a term of three years which will be the primary
source of transportation for Johnson County and the Miller fleet. Also, Brazos has increased and
extended services at Worsham Steed through October 31, 2024.            Firm transportation of 25,000
MMBtu/day and firm storage with a maximum storage quantity of 200,000 MMBtu In the summer
(120,000 MMB8tu for winter) has been secured at Worsham Steed. Firm storage at Hill Lake has also
been agreed upon through October 31, 2023, with an MSQ as high as 100,000 MMBtu during the
surnmer, ratcheting back to 60,400 MMBtu.


At the end of October 2020, the Enterprise firm transportation will expire. While Enterprise may still be
needed at times for pressure reasons, the increased Worsham flexibility and flows wil allow Enterprise
quantities to be decreased and potentially eliminated.



2     Forecast Consumption
This natural gas supply plan utilizes forecast generation            data from ACES’       Portfolio Modeling   and
Portfolio Strategy groups, and is based on forward curves dated September 11, 2020. Figure 1 shows
the projected average daily consumption volumes based on Brazos’ most recent. monthly Portfolio
Position Report and Appendix D is a chart that represents a monthly volumetric estimate of
consumption,




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                                                                                                            Exhibit |
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                      Figure 1. Projected Average Daily Consumption (MMBtu/day])




Figure 2 displays the daily peak capacity volumes based on the capacity at each of the natural gas-fired
plants.
                                Figure 2. Daily Peak Consumption (MMB8tu/day)
                                         Jack County       Johnson County   Miles          Total

                               2020        208,000             53,000       35,000
                               2081        208, 000°           53,000       95,000
                               2022        208,000             $3,000)      55,000
                               2023        OBO                 53,000       95,00)
                               2024        208, 000            53,000       65 O00




3     Transportation
ACES identified the volumes of firm pipeline capacity that Brazos Electric has secured for 2020 through
2024, as shown in Figure 3:


                                  Figure 3. Firm Pipeline Capacity [MMBtu/day})

                       Pipeline                              Volume                       Expiration
         Enterprise                                     20,000 MMBtu/day               October 31, 2020
         Enerey Transfer                                65,000 MMBiu/day               October 31, 2021
         Worsham Steed                                  25,000 MMBtu/day               October 31, 2024
         Total Firm Deliverability                     110,000 MMetu /day


                                                                                                    Bee
                                                                                                   Sees


                      Pipeline                               Volume                        Expiration
        Atmos              .                           156,000 MMBtu/day               December 31, 2022




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                                                                                                                                                                                                                                   Exhibit |
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Although the chart above shows only 110,000 MMBtu of firm transportation, additional volumes can be
secured as a delivered product to cover the deficit at Jack County. Worsham Steed’s volume can reach
as high as 150,000 MMBtu/day, while Enlink can also flow up to 55,000 MMBtu/day.                                                                                                                         Under the current
daily offering and operations of the Jack County units, specifically the increase in capacity from
Worsham Steed, the usage frequency of supply from Enlink has diminished. This is both due to liquidity
and economics on the Enlink supply.

in Figure 4, Brazos’ average daily corsumption is cornpared to the current firm natural gas
transportation services.   The deficit shown below wiil be partially suppled once the Enterprise
Transportation contract is renegotiated and renewed.      In addition to this, gas supplies on Worsham
Steed can be purchased on a delivered basis which wilkaiso help fill the deficit seen below.



                                                 Figure 4. Total 2020 - 2024 Natural Gas Daily Transportation (MMBtu/day)

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                                                       * Projected Consumption includes capacity of Johnsan County and Jack County only,



4                                  Storage Services
higure & shows the natural gas storage capacity and park & loan services that Brazos has in place for
2020 through 2024:
                                                             Figure 5. Storage and Park and Loan Capacity (MMBtu/day)




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                                                                                                                                                                                                                               BRAZOS _000074117
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                                                                                                                                                Exhibit 1




                                     —_       Infection                 Withdrawal          Max Capacity        $/MMBtu*          Expiration
    Worsham Steed ~ Summer            40,000 MAABtu/day            40,000 MMBtu/day        280,000 MMBtu = $0.05445%          — 10fs4/2024
    Worsham Steed - Winter            40,000 MRMBtu/day            40,000 MMBiu/day        120,000 MMBiu    = $0.05 + 1.5%        LOS 1/2024
    Hil Lake - Sunimer                    20,000 MMBtu/day         20,000 Mivibtu/day      100,000 MiMBtu      $0.05 + E54        10/31/2094
    Hill Lake - Writer                    20,000 MMBtufday     =   20,000 MiMBtu/tlay      60,000 MMBia        $0.05 + 1.5%       LO/31/2024
                                                                                                                    ener      nitriteTET



    Pipeline                                    Pack                       Loan             Viax Capacity       3 /MMBtu*         Expiration
    ETE                                   26,000 MMBtifday         20,000 WiMBtuday         Negotiatad**       Negotiated™*          AA
    Atmos                                 25,000 MMBtu/day         25,000 MMStu/day         Negotiated**       Negotiated**          NA


          *S/MMBtu costs vary based on volume, etc. Highest costs displayed for reference. Al costs shown in Figure Sare
            variable. Reservation (fixed periodic demand fees) charges not included.


          ** Atmos and ETF PAL rate neaotiated daily. Rates and max capacity can ronge based on time of yeor, duration
             of parkfioan, or conditions on the pipe. Rates are expected to range from 50.15 - $0.25.


                                Figure 6, Reservation Costs of Storage / Park and Loan
                                      *fnergy Transfer & Enterprise varies monthly depending on number of devs.




               Pipeline                                      Reservation                 Other Charges
               Atmos {5 & 7}                           5                      ~      §                960.00          Meter Fee
               Enterprise *                            S             60,833.40
               ETF *                                   S            138,395.99
               Worsham Steed (T-Port}                  5             50,000.00
               Worsham Steed (Storage)                 5             57,000.00
               Hill Lake (Storage)                     S            28,500.00
               Total                                   $           334,729.39



With the heavy growth of renewable energy in ERCOT, it has become more difficult to forecast clearings
than in previous years. Due to this, last year Brazos subscribed to additional storage services both at Hill
Lake Storage.as well as Worsham                        Steed storage.      On a daily basis, 60,000 MMBtu           can be eithér injected
or withdrawn from storage. This flexibility is extremely valuable as it can be sculpted on an hourly basis
to minimize hourly charges on specific pipelines. In addition, it can be withdrawn during peak hours to
limit pulling the pressure of the system at Jack County down toa quickly.



5           Analysis
After analyzing Brazos’ expected peak consumption and transportation capacity, ACES concluded there
is Sufficient transportation for the Jack, Johnson, and Miller units. Although it is less likely that the units
will be dispatched to peak capacity each day, it is necessary to pian to have sufficient firm transportation
to supply Jack County and Johnson County for peak daily consumption. Without firm transpartation, it
could be challenging to secure firm delivered gas supply on a peak day to meet Brazas’ needs.

Brazos’ current transportation agreement with Energy Transfer is set to expire within the upcoming
year. Current model runs show a decrease in consurnption for both Johnson County and the Miller fleet




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                                                                                                              Exhibit i
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in the years to come. Due to the improvements which led to increased flow capability fram Worsham
Steed directly to Jack County, it may be passible to reduce or entirely terminate firm transportation on
ETF.

Because of the importance of line pack for the Jack Units it is necessary to maxe sure there is sufficient
supplies available to manage the current operational configuration and ACES will continue to work with
Brazos to make sure that supply options are optimized.

Pipeline Transportation, Operationally Flexible Services, and Storage Service

    ®    Brazos’ historical capacity factors have been high enough to support subscribing to firm pipeline
         transportation instead of buying mostly delivered supply. Brazos has been able to negotiate
         discounted transportation rates fram the pipelines serving their facilities. Currently, none of
         these pipelines can serve 100% of the Brazos load; therefore, Brazos wil! likely always have
         transportation capacity from more than one pipeline. The allocation between pipelines will be
         based on the operational flexibility and economics of serving the Brazos generators.            Having
         capacity from several pipelines reduces the risk in relying on a single supply source. Not only is
         the supply risk reduced but the operational risk is as well. Completely relying on one or two
         sources poses a risk if any compressor or pipeline issues arise also.

    *    The peaking units at Miller have a very      low capacity factor. Firm transportation demand charges
         on. jow capacity factor units equate to     high cost gas transportation on a dollar per MMBtu basis,
         which translates to higher generation       costs. Since a portion of the Miller units can generate by
         substituting oil and firm gas deliveries,   firm transportation is not necessary or recommended for
         the Miller units.

    ¢    Brazos often consumes gas on. a non-ratable schedule (more gas consumption on-peak than off-
         peak) and as a result, there will always be a need for pipeline or storage services to manage the
         hourly load variance. Pipelines have provided highly reliable operational flexibility on an
         interruptible basis; however, as witnessed during the Palar Vortex winters age and the cold blast
         in the winter of 2017-2018, there is limited capacity to provide this on extreme days.
         Subscribing to firm hourly services allows the pipelines to reserve this capacity for customers to
         have when needed. Worsham Steed storage provides hourly flexibility to withdraw gas directly
         to Jack County as well as into Atmos, ETF pipeline, or Enterprise. Hill Lake storage also provides
         hourly flexibility to withdraw gas into ETF, Atmos, and Enterprise also.

    ®    Brazos has the need for storage, as well as park and loan contracts, to provide additional
         flexibility to manage their power supply portfolio. The structure of the nodal market in ERCOT
         has increased the demand for greater flexibility from both Johnson County and Jack County. In
         addition, timing differences between the gas and power markets, changes in weather patterns,
         unit oulages, supply curtailments, and changing market prices will all have an impact on. the
         volume of natural gas used versus what was forecast.

    *    In addition to the firm storage contracts, all of the current park and loan contracts are non-firm
         ang provide Brazos with added flexibility for daily operations,

Supply




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      e   Based on previous operational and commercial market experience, a maximum of 100,000
          MMBtu/day month-ahead and 100,000 MMBtu/day day-ahead was maintained to be @ sale
          limit to stay within for natural gas procurement. Recently though, daily natural gas purchases
          have reached well over 150,000 MMBtu/day without difficulty in procurement. Due to this,
          ACES is comfortable in jeaving over 100,000 MM Btu to be secured.on a daily basis.



6    Recommendations/Actions terms
     1.   ACES recommends the Monthly Baseload Supply amounts for 2021 contingent on market
          dynamics, which will minimize any gas supply and reliability concerns. In order to cover any
          potential changes in the market, ACES will néed authorization to secure volumes up to 30,000
          MMBtu/day an a monthly baseload basis, This gas will not be purchased until the month prior
          during bikdweek and will keep the daily purchases to a manageable, reliable level.

          Requested Monthly Volumes to be executed during bidweek of preceding month:
              at Tern: january 2021-0 MMBtu/day
                 Tern: February 2021 ~- 0 MMBtu/day
                 Tern: March 2021 -0 MMBtu/day
             &




                             Tenn          April 2021 -0 MMBtu/day
             &




                             Terri:May 2021 - O MMBtu/day
             &




                             Term: June 2021 = 30,000 MMBtu/day
             &®




                             Term          July 2023 ~ 30,000 MMBtu/day
             e




                             Term:         August 2021 —-30,000 MMBtu/day
             €




                             Term:         September 2021 ~O MMBtu/day
             8




                             Term:         October 2021 -O MMBtu/day
             &




                         Tern:             November 2021 - 0 MMBtu/day
             &




                             Tern:         December 2021 —-0 MMBtu/day
             2




                                                                                       Figure 7. Natural Gas Supply Plan
                                                                                           Progcied 2024 Gas Suppy Plan
                                                                                                           iviBnuydh

                                            Projected deg. Dally fincuinenen | Targered Raceload                                               Procurement Htrarery
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     2.     On October 31, 2021, the Energy Transfer firm transpariation agreement wil terminate.
            Leading up to the expiration, ACES recommends analyzing this contracts as well as revisiting the
            Enterprise firm transportation contract to determine which, if any, contracts will be needed to
            rellably operate both units at Jack County. With the improvements in capacity from Worsham
            Steed, it may be possible to reduce or eliminate the firm transportation contracts. This would
            stil allow for reliable operations at Jack County while savings Brazes fixed monthly demand
            charges,




                                      Appendix A: Current Contracts

Current NAESE & Gas Annex Comtracts
Centerpoint Energy Services, Inc.                                   NAESB
Chesapeake Energy Marketing                                         NAESB
CIMA Energy                                                         MAESS
Cimarex                                                             NAESB
ConocoPhillips                                                      NAESS
Devon Gas Services                                                  NAESB
Enbridge Marketing                                                  NAESB
Energy Transter Fuels                                               NAESB
EnLink Gas Marketing                                                NAESE.
Enstor Energy Services, LLC                                         NACSB
Enterprise Products Operating                                       MAESB
ETC Marketing                                                       NAESB
Koch Energy Services, LLC                                           NAESB
Luminant Energy                                                     MAESB
Macquarie Energy                                                    NAESB
Mercuria    Energy America, inc.                                    NAESE
Munich Re Tracing LLC                                               NAESB
National Energy & Trade                                             NAESB
AUR Energy Services                                                 NAESB
NorTex Trading and Marketing                                        NAESB
Occiclental Energy Marketing, Inc                                   NAESE
Sequent Energy Management                                           NAESB
Shell Energy North America                                          NAESB
Targa Gas Marketing                                                 NAESE
Tenaska Marketing Ventures                                          NAESB
Total Gas & Power                                                   NAESB
Twin Eagle Resource Management                                      NAESB
Wells Fargo Commodities                                             NAESB
EDF Trading North America                                         Gas Annex
JP Morgan                                                         Gas Annex




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                                     Storage and Transportation Contracts

Hil Lake                                                              Storage
Worsham Steed Storage                                                 Storage
Energy Transfer Fuels                                           Firm Transportation
Enterprise Pipeline                                             Firm Transportation
Wersham Steed                                                   rirm Transportation
Atmos Pipeline ~ Texas                                      interruptibie Transportation
Energy Transfer Fuels                                       Interruptible Transportation




                                    Appendix B: Brazos Pipeline Map




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           PIPELINE         SYSTEMS
                                                                           PIPZLINE         DL AMCTER

                    BRAZOS
                    DEVON                                   snntnnenesesenenae   16°   ss    en   i


         vm         ENERGY     TRANSFER


                   MIDOCONTINENT      EXPRESS
                                                                                 COMPRESSOR           STATION

                                                                                 SENERATION           STATION
            @        WVARKET   HUE
                   STORAGE FACILITY




        Appendix C; Brazos Electric’s Natural Gas Fired Generation




                                                                                                                BRAZOS _000074123
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                                                                                                                           Exhibit |
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      RW   Miller #1            a5           11955:              Aumos, ETF, fnrerprise                Steam Turbine



      RW Miller #2             120)          10215,              Aunos,   ETE,   Enterprise            Steam Turbine



      RW   Miller #5           208           10279               Agads, ETP, Enterprise                Sieam Turbine




      RW   Miller #4                         11343               Atmos, ETE, bnterprise              Combustion Turbine



      RW Miller #5             4             LiSie               Aunos, EFF, Enterprise



     Johnson County            265           76                        Aemos, ETF                     Combined Cycle



     lack Counpy #1         SLV/G 1D"    6,08 2/7 224"    ETE Enlink, Enterprise, Worsham Steed       Combined Cycle


     Jack County #2         3 10/6 10°   GO8MT 234        ETE Enlink, Emerprise, Worsham Steed        Combined Cycle




    *includes duct firing




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                                                                                                                          BRAZOS _000074124
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        Appendix D: Projected Average Consumption (MMBtu/day)
               7            jack County   — Johnson County    Miller         Fatal
              Sep-20          102,763            18,629       3,337         ya
               Oct-20          49,180           15,207        12,553         76,940
               Nev-20          45,766           11,775         6,382         63,922
               Dec-20          68,518            10,677        5.475         84.918
               Jan-21          72,899           15,287       40/794          08,980
               Feb-24        68,427             15,652         9,084         93,172
               Mar-24          17,88)             1,338        4,338         73,558
               Apr-21          13,805           8,885         2,681          25,474
               May-21          24,165            10,264        4,42          38,847
               Jun-24          79,722           15,878        20,127        413,727
                gul-21        123,800           26,143       45,913         195,857
               Aug-21         146,603           34,852        78.291
               Sep-21          92,412           16,086        21,248
               Oct-24          16,261               G          8.314
               Now-24          37,748           10,889         3,804
               Oec-21         57,581             11414        3,273
             ~ Jane22         61,979             45,621       96,524
               Feb-22         57,621             15,630       40,487
               Mar-22          14,519            7,792         3,635
               Apr-22          10,762             3,823        1,042
               tvay-22         19,857             8,320        2,403          30 att
               jun-22          61,480            17,079       17,332         55 802
                jul-22        101,595            27,497       39,716        168, B08
               Aug-22         128,873            34,476       71,370        234,719
               Sen-22          60,437            14,784       19,545         93 766
               Det-22          27,325                Q       5,068           99,993
               Nov-22          26,825            8,619         2,224         37,668
               Dec-22          39,205           8,737          2,502         51.043
               jan-2         53,665              16,380       14,596         81,634
               Feb-23        50,996              16,739       11425           79 060
               Mar-23          47,172             6,841        1,614         28,627
               Apre23          47,032             2,489         58?          20,068
              May-23           18,272             6,435      1,480           26,168
               jun-23          51,966            45,194       16,122         #3 280
               Jul-23          94,162            25,503       28,678        158,343
               Auge23         134,950            32,571       63,765        311,286
               Sep-23          51,783            13,617       16,791         82,198
               Oet-23          24,678               Q        4,620           25,298
               Now-23          21,151           7,954          4,756         26,865
               Dece23          28,363           6,997           729          36,089
               Jan-24          52,771            17,865       12,319         82,984
               Fab~24          48,008            17,502       10,968         76,473
               Mar-24          18,503             6,942        1,779         26,224
               Apr-24          17,275           5,189           593          23,057
               May-24          19,566             7,430        1,979         28,975
               jun-24        47,581              15,286      43,884          76,751
               Jul-24         91,634             25,882       39,076        186592
               Auge 24        104,429            30,145       55,057        190,53)
               Sep-24         42,271             13,024       13,060         68,255
               Oct-24          28,295               Q          1,933         30,238
              Hove 24          28,876             6,684       1749           9244
               Dec-14          28,589            7,142        2,429          38.161
            Appendix E: BRAZOS PGMY YARD MAP (to Jack Units)




                                                                                       BRAZOS _000074125
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                                                                                              Exhibit 1
                   Power Supply Committee - Consider Natural Gas Supply Plan for 2020-2024




ACES| Brazos Electric Cooperative- 2020-2024 NG J@pply Plans               CONFIDENTIAL
                                                                                             BRAZOS _000074126
